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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


    IN RE: PRESS AND PUBLIC ACCESS TO                              Miscellaneous Action No. 21-46 (BAH)
    VIDEO EXHIBITS IN THE CAPITOL RIOT
    CASES                                                          Chief Judge Beryl A. Howell




                              MEMORANDUM OPINION AND ORDER

         Pending before the Court is a letter, dated May 3, 2021, submitted on behalf of fourteen

media organizations petitioning for issuance of a Standing Order to provide “a uniform method

of prompt access to all judicial records,” including video evidence, in cases arising from the

violent breach of the United States Capitol on January 6, 2021 (“Capitol Cases”). Pet. to Access

Video Exhibits in the Capitol Riot Cases (“Pet.”) at 6, ECF No. 1. 1 Petitioners propose a method

of providing contemporaneous access to video exhibits used in ongoing pretrial proceedings in

Capitol Cases whereby ProPublica, an independent nonprofit new organization would “serve as

the press representative and take on the responsibility of receiving video exhibits from the

Government, coordinating distribution of the videos to other press organizations, and making the

videos accessible to the general public.” Id. at 8. This proposal is modeled on a plan adopted in

another district during a high-profile trial, even though the Capitol Cases are currently in pretrial

proceedings.

         Both the United States Attorney’s Office for the District of Columbia (“USAO-DC”) and

the Office of the Federal Public Defender (“FPD”) were provided an opportunity to respond to



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         This letter was submitted directly to the undersigned Chief Judge, who is authorized to “take such other
administrative actions . . . as in . . . her judgment are necessary to assure the just, speedy and inexpensive
determination of cases and are not inconsistent with these Rules.” D.D.C. LCvR 40.7(h); D.D.C. LCrR 57.14(h).
The letter was then docketed as a miscellaneous matter to resolve the issues raised by petitioners in an orderly and
transparent manner.

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the petition, see Min. Order (May 3, 2021); Min. Order (May 4, 2021), and both important

stakeholders in the prosecution and defense of the Capitol Cases have submitted their views, see

Gov’t’s Resp., ECF No. 3; Gov’t’s Resp. to May 5, 2021 Order of the Court (“Gov’t’s Suppl.

Resp.”), ECF No. 5; Office of the Federal Public Defender Resp. (“FPD Resp.”), ECF No. 6.

Petitioners have replied to these submissions, Pet’rs’ Reply, ECF No. 7, and the petition is now

ripe for resolution.

I.      BACKGROUND

        Videotape clips showing the conduct of Capitol Case defendants, and others, on January

6, 2021, have been submitted, principally by the government and occasionally by defendants, to

the Court for use in pretrial proceedings—usually detention hearings—in many of these cases.

The video exhibits have originated from multiple sources, including publicly available YouTube

videos, social media postings, seized electronic devices of defendants and associates, body-worn

camera footage of Metropolitan Police Officers, and security camera footage from the U.S.

Capitol Building and grounds. Still photographs from the video exhibits are frequently presented

in the briefing filed with the Court and, unless ordered to be placed under seal, these filings are

generally available for public and media access on the Federal Judiciary’s Case

Management/Electronic Case Filing (“CM/ECF”) system. CM/ECF cannot handle exhibits in a

videotape format, however. For exhibits, such as videotapes, that cannot be filed on CM/ECF,

the Local Rules of this Court provide, in pertinent part, that:

        Any document, exhibit, or attachment, including sealed material, that (A) is not in
        a format that readily permits electronic filing, such as a map, chart, or DVD, . . . is
        to be maintained in the possession of the attorney or pro se party responsible for
        the filing. Such a filing shall be made available for a party or the Court and must
        be identified in a Notice of Filing filed with the Court. A document or item filed
        pursuant to this subsection shall be served, if it is necessary to serve it, by mail or
        by hand delivery, unless the parties have otherwise agreed.

D.D.C. LCrR 49(e)(1).
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       Since January 6, 2021, due to the ongoing COVID-19 global pandemic, public access to

the E. Barrett Prettyman United States Courthouse and the William B. Bryant Annex (the

“Courthouse”) has been subject to restrictions to protect public health and safety, with most

district court proceedings being conducted remotely or partially remotely using

videoconferencing technology. See In Re Modified Restrictions on Access to Courthouse During

the Covid-19 Pandemic, Standing Order No. 21-20 (BAH) (April 2, 2021); In Re Fourth

Extension of Authorization for Use of Video Teleconferencing and Teleconferencing for Certain

Criminal and Juvenile Delinquency Proceedings, Standing Order No. 21-14 (BAH) (March 16,

2021). Nevertheless, public and media access to court proceedings has been accommodated,

including through use of public access call-in lines allowing the public and media to listen to

court proceedings as they are occurring and, as of April 5, 2021, members of the media have

been able, upon request and as space permits, to view live videoconference streaming of court

proceedings from the Courthouse.

       When video exhibits are submitted in Capitol Case pretrial proceedings, the presiding

judge and participants are able to view the video exhibits either before or during proceedings, but

the media and public listening on the public access call-in lines are unable to see the video

exhibits. This limitation has prompted requests from members of the media for access to the

video exhibits in several cases, and such requests have been addressed on a case-by-case basis.

See, e.g., Order, United States v. Chansley, Case No. 21-cr-3 (RCL), ECF No. 30 (D.D.C. Mar.

15, 2021) (directing the Clerk of Court to post video exhibits on the Court’s website); United

States v. Jackson, Case No. 21-mj-115 (BAH), 2021 WL 1026127, at *8 (D.D.C. Mar. 17, 2021)

(ordering the government to provide video exhibits to a member of the news media); see also

Min. Order (Apr. 28, 2021), In Re Application for Access to Certain Sealed Video Exhibits, Case



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No. 21-mc-34 (TFH) (denying news organizations’ motion for access to video exhibits as moot

after government released videos in United States v. Tanios, Case No. 21-cr-222-2 (TFH)). At

the request of the presiding judge, Court staff has also shown video exhibits to members of the

media at the Courthouse using copies of video exhibits provided on thumb drives by the USAO-

DC.

       In the pending petition, the group of fourteen media organizations express frustration

with the case-by-case approach to providing media access to video exhibits, explaining that

petitioning for the release of video exhibits in individual cases has led to delayed release of those

exhibits, see Pet. at 3 (citing In Re Application for Access to Certain Sealed Video Exhibits, Case

No. 21-mc-34 (TFH)), and objecting to the absence of a platform to provide broad and

convenient public access to video exhibits in the numerous Capitol Cases in which such exhibits

have been presented to the court but are not available to the public, see Pet. at 5–6 (collecting

cases). Consequently, they seek a standing order directing the government to

contemporaneously release copies of video exhibits admitted in pretrial proceedings in the

Capitol Cases to a designated press representative, ProPublica, for further distribution to news

organizations and to the public at large. See Pet. at 7–8.

       As noted, both the government and FPD were invited to provide their views on the

petition. The government does not oppose petitioners’ proposal, but suggests an alternative

access method, first discussed with the undersigned Chief Judge on March 24, 2021, long before

the petition was filed, whereby the government would create a “drop box” for sharing exhibits

with members of the news media. Gov’t’s Resp. at 2. Video exhibits would be uploaded to the

drop box 72 hours after each proceeding “in light of the possible redactions . . . and uploading of

voluminous numbers of exhibits.” Id. The government has alerted the Court that, due to the



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Capitol Police’s security concerns, the government may seek sealing orders for video footage

from the U.S. Capitol closed-circuit video system and for other video exhibits “where public

access and dissemination would interfere with ongoing criminal investigations, reveal the

identities of uncharged individuals, or threaten the safety of the defendant or others.” Gov’t’s

Suppl. Resp. at 2–3. 2

        FPD cautions that, given the pretrial posture of the Capitol Cases, defendants may be

prejudiced if all non-sealed video exhibits are presumptively released to the media for potentially

broad coverage, and that case-by-case considerations should inform the scope and nature of

public access. FPD Resp. at 2–3. In this vein, FPD stresses that “considerations in each

individual case that may each lead counsel to oppose release of [such] video exhibits,” id.,

pointing to “the fact that these cases are in the beginning stages,” potential taint to jury pools,

potential prejudice from use of “a deliberately chosen or edited clip to support a certain argument

or narrative” rather than presentation of “the whole event,” id. at 3, such that an individualized

“process is necessary to protect the rights of all parties involved,” id. at 4. At the same time,

FPD states that “[t]o the extent that there are no objections to the release of these video exhibits

in each particular case, the petitioner’s proposal to have a streamlined approach for obtaining the

video exhibits seems reasonable,” id. at 2, and “it is up to the Court to determine the best procedure

to provide the materials,” id. at 5.




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          The government explains that the Capitol Police provided the closed-circuit video footage from the U.S.
Capitol Building and grounds “under specific conditions, including that the materials not be disseminated outside of
a protective order unless necessary to satisfy the government’s discovery obligations or for use as evidence in the
prosecution of a criminal offense.” Gov’t’s Suppl. Resp. at 1. Of course, the fact that documents are subject to a
protective order does not obviate the Court’s responsibility independently to determine whether the documents may
be filed under seal. United States v. All Assets Held at Bank Julius Baer & Co., Case No. 04-cv-798 (GMH), 2020
WL 7773423, at *3 (D.D.C. Dec. 30, 2020); see also D.D.C. LCrR 49(f)(6)(i) (requiring that any document intended
to be filed under seal be submitted with a motion to seal).

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II.     LEGAL STANDARD

        The D.C. Circuit has explained that “there is a ‘strong presumption in favor of public

access to judicial proceedings,’ including judicial records.” In re Leopold to Unseal Certain

Electronic Surveillance Applications and Orders, 964 F.3d 1121, 1127 (D.C. Cir. 2020) (quoting

United States v. Hubbard, 650 F.2d 293, 317 (D.C. Cir. 1980). Yet, “not all documents filed

with courts are judicial records” subject to this presumption. Id. (quoting SEC v. Am. Int’l Grp.,

712 F.3d 1, 3 (D.C. Cir. 2013)); see also Am. Int’l Grp., 712 F.3d at 4 (finding consultant reports

were not judicial records because district court “made no decisions about them or that otherwise

relied on them”); United States v. El-Sayegh, 131 F.3d 158, 163 (D.C. Cir. 1997) (finding plea

agreement that played no role in any adjudicatory function was not judicial record). Instead,

“whether something is a judicial record depends on ‘the role it plays in the adjudicatory

process.’” In re Leopold, 964 F.3d at 1128 (quoting Am. Int’l Grp., 712 F.3d at 3). Documents

and other materials filed in court “intended to influence the court” are judicial records. Id. at

1128; see also id. at 1129 (finding sealed orders, applications for orders and supporting

documents in criminal investigation matters, and court dockets for these records, are judicial

records); League of Women Voters v. Newby, 963 F.3d 130, 136 (D.C. Cir. 2020) (finding that

“every part of every brief filed to influence a judicial decision qualifies as a ‘judicial record’”);

see also United States v. Graham, 257 F.3d 143, 151–52 (2d Cir. 2001) (holding that videos

played at a pretrial detention hearing are judicial records).

        This common law “right to inspect and copy judicial records is not absolute,” Nixon v.

Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978), and “may be outweighed by competing

interests,” In re Leopold, 964 F.3d at 1127. The Supreme Court has instructed, “the decision as

to access is one best left to the sound discretion of the trial court, a discretion to be exercised in



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light of the relevant facts and circumstances of the particular case.” Nixon, 435 U.S. at 599. The

competing interests that may overcome the presumption favoring public access to judicial

records have been “crafted [] into a six-factor test” originating in Hubbard. In re Leopold, 964

F.3d at 1127. The Hubbard six-factor test “has consistently served as our lodestar” by

“ensur[ing] that we fully account for the various public and private interests at stake,” MetLife,

Inc. v. Financial Stability Oversight Council, 865 F.3d 661, 666 (D.C. Cir. 2017), in evaluating

motions to seal or to unseal and provide public access to judicial records.

       The Hubbard test considers:

       (1) the need for public access to the documents at issue; (2) the extent of previous public
       access to the documents; (3) the fact that someone has objected to disclosure, and the
       identity of that person; (4) the strength of any property and privacy interests asserted; (5)
       the possibility of prejudice to those opposing disclosure; and (6) the purposes for which
       the documents were introduced during the judicial proceedings.

In re Leopold, 964 F.3d at 1131 (quoting Metlife, 865 F.3d at 665); see also id. at 1129–30

(explaining that unless “Congress has spoken directly to the issue at hand,” the “common-law

standard enshrined in the Hubbard balancing test” governs “[]sealing decisions” (internal

quotation marks omitted) (quoting Metlife, 865 F.3d at 669)); Hubbard, 650 F.2d at 317–22.

       The D.C. Circuit has further explained that in addition to informing whether public

access to records is required, relevant considerations may inform “how and when” access to

judicial records is provided. In re Leopold, 964 F.3d at 1133; see also Nixon, 435 U.S. at 602

(indicating that the balancing of interests would be appropriate to determine whether audio tapes

should be made available for release and copying, even where the tapes had been played at trial

and transcripts thereof were available).




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III.    DISCUSSION

        Petitioners seek more timely and streamlined access to video exhibits in Capitol Cases

and, as they correctly point out, these exhibits are undoubtedly judicial records to which the

presumption of public access attaches. Such exhibits have so far played a significant and

meaningful role in the adjudicatory process in many of the Capitol Cases, with extensive

discussion of these exhibits in the government briefing, showing of the video exhibits prior to or

at detention hearings before the Court, and close review of these exhibits by the Court in

considering the requisite factors under the Bail Reform Act, 18 U.S.C. § 3142, to make

determinations of pretrial release or detention. See Pet. at 4–5 (collecting cases). 3 As has

already occurred in several Capitol Cases, public access to the video exhibits will often be

granted as appropriate. See, e.g., Order, United States v. Chansley, Case No. 21-cr-3 (RCL), ECF

No. 30 (D.D.C. Mar. 15, 2021); Jackson, 2021 WL 1026127, at *8.

        As noted supra Part II, qualifying as a judicial record triggers presumptive but not

automatic public and media access to the record. For example, a judicial record may be placed

under seal for good reason and thereby outside the reach of public or media access. Thus, as the

D.C. Circuit has indicated, the Hubbard factors can also inform “how and when” access is

provided. Here, petitioners’ suggested approach applies a uniform solution that treats all video

exhibits in all Capitol Cases the same, allowing full access, copying, and dissemination of all

video exhibits in these cases without consideration of the potential prejudice to individual

defendants. In the face of the legitimate concerns raised by FPD, this proposed approach cannot




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          The fact that the video exhibits may not be filed on the public docket has no bearing on whether they are
judicial records, since they are not in a format amenable to filing on the Court’s Case Management/Electronic Filing
(CM/ECF) system.

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be reconciled with the legal standard articulated in Hubbard requiring a case-by-case analysis,

which is also supported by this Court’s Local Criminal Rules.

       A. Case-by Case Approach for Access to Video Exhibits is Appropriate and
          Required

       Potential objections by individual Capitol Case defendants based on the risk of unfair

prejudice pretrial from broad release of video exhibits may weigh in favor of more limited access

to this evidence, even if these considerations do not merit sealing. “[T]he possibility of prejudice

to the defendant[] by sensational disclosure is a factor which may weigh in favor of denying

immediate public access,” Hubbard, 650 F.2d at 320–21, and is of particular concern in these

cases given their pretrial posture. Certainly, the events at the U.S. Capitol on January 6, 2021,

generally, and the Capitol Cases in particular, have already been the subject of extraordinary

attention both nationally and even globally. Given this context, disclosure of video exhibits in

individual Capitol Cases may not generate any more prejudicial attention than already attaches to

this event. Nevertheless, disclosure of particularly egregious or inflammatory conduct associated

with an individual defendant or a particular video clip that “does not contain the whole event but

rather a deliberately chosen or edited clip to support a certain argument or narrative,” FPD Resp.

at 3, may present sufficient unfair prejudice at this stage that the presiding judge may decide to

delay or limit access in some way. Evaluation of such risks must be carried out on a case-by-

case basis.

       Petitioners’ novel request would provide, by standing order, a default of widespread

disclosure, copying, and dissemination in all cases and does not allow for the appropriate

consideration and balancing of defendants’ interests. Just as “administrative burden [may be]

relevant to how and when documents are released,” even where those burdens do not “justify

precluding release forever,” In re Leopold, 964 F.3d at 1133, the risk of prejudice to defendants


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may inform the form of release even where the right of public access adheres. 4 Petitioners rely

on In re Associated Press, 172 Fed. App’x 1 (4th Cir. 2006), which addressed the

contemporaneous release of trial exhibits presented to the jury in United States v. Moussaoui,

Pet. at 7, and model their proposed solution on a plan adopted at that trial, id. Unlike the

evidence at issue in that case, the video exhibits here are being presented in the pretrial context.

Rebroadcasting evidence already shown at trial may present little risk of juror taint, particularly

where the court has “repeatedly instructed the jurors not to expose themselves to media coverage

of the trial,” In re Associated Press, 172 Fed. App’x at 4, but broad dissemination of critical

evidence that may be used in future jury trials requires more delicate balancing.

         The government contends that the Second Circuit’s decision in United States v. Graham,

257 F.3d 143 (2d Cir. 2001), supports broad public release of the documents at issue here.

Gov’t’s Suppl. Resp. at 4–5. Like the current posture of the Capitol Cases, that case, which

involved drug trafficking charges, addressed the release of video and audio materials submitted

for a detention hearing. Graham, 257 F. 3d at 145. The Second Circuit observed that “while the

events surrounding the instant case have gained some notoriety, the possibility that the jury pool

will become so tainted as to prevent the defendants here from obtaining fair trials is too

speculative to justify” denying public access. Id. at 155 (internal quotation marks and citation




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          This was precisely the concern of the district court in United States v. Mitchell in denying an applicant’s
petition to reproduce and distribute copies of the Nixon audio tapes: the district court reasoned that appellants in the
criminal cases in which the tapes were used might be prejudiced by the tapes’ release, even though members of the
public heard the tapes at trial and transcripts of the tapes had been widely distributed. 397 F. Supp. 186, 188–89
(D.D.C. 1975), rev’d 551 F.2d 1252 (D.C. Cir. 1976), rev’d Nixon v. Warner Commc’ns, Inc., 435 U.S. 589 (1978);
see also Mitchell, 551 F.2d at 1265–66 (MacKinnon, J., dissenting) (supporting the position of the district court).
The Supreme Court reversed the D.C. Circuit’s holding that the district court’s “refusal to permit immediate copying
of the tapes was an abuse of discretion,” Nixon, 435 U.S. at 591, but did so for different reasons since the
defendants’ appeals had all been resolved, id. at 602 n.14. Nevertheless, the Supreme Court indicated that
determining whether to require reproduction of the tapes would normally require “weighing the interests advanced
by the parties in light of the public interest and the duty of the courts,” id. at 602, and implied that potential
prejudice to the defendants would be relevant to that inquiry, id. at 602 n.14.

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omitted). Consequently, after consideration of the “[c]ountervailing [f]actors to be [b]alanced

[a]gainst the [p]resumption of [a]ccess,” id. at 154, the Graham court found that disclosure to the

media of audio and video evidence presented at the detention hearing was warranted. A similar

analysis may hold true and dictate the same result in particular Capitol Cases. In citing Graham,

however, the government glosses over the key take-away from the Second Circuit’s analysis:

namely, that the court conducted a case-specific analysis of the evidence and the countervailing

factors raised by the defendants to determine whether the presumption of access was overcome.

That analysis is a far cry from a blanket release for copying and broad dissemination proposed by

petitioners and endorsed by the government.

       The Hubbard factors require an analysis based on individual circumstances before

requiring, by court order, a policy of broad access and reproduction of Capitol Case video

exhibits. While the need for public access and the role of the video exhibits in informing judicial

decisionmaking counsel in favor of disclosure, presumptive release, copying and dissemination

of video exhibits submitted in Capitol Cases, without regard to any countervailing factors

presented by individual defendants, is not warranted given the individualized nature of the

prejudice analysis. Consideration of the degree and risk of prejudice from widespread release

and reproduction of specific video exhibits in particular Capitol Cases is better assessed on an

individual basis by the presiding judge. Additionally, providing, as a default, the opportunity for

viewing rather than copying and broader dissemination is appropriate given the potentially

prejudicial nature of the exhibits at issue and the necessity for presiding judges to gauge the risk

of prejudice in individual cases before approving broader release enabled by downloading and

copying of the video exhibits.




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       B. Procedure for Remotely Accessing Video Exhibits

       The Local Criminal Rules provide the appropriate procedure both for submitting video

exhibits to the Court, with public notice of those filings, and for non-parties to request access to

particular materials. Under this Court’s Local Criminal Rule 49(e), filings that are incompatible

with the CM/ECF system (such as video exhibits) must “be made available for a party or the

Court and must be identified in a Notice of Filing filed with the Court,” D.D.C. LCrR 49(e)(1),

ensuring that the public knows that such a submission to the Court has been made. The Local

Criminal Rules call for no broader disclosure of the exhibit itself.

       The Local Criminal Rules further provide, however, that “[a]ny news organization or

other interested person, other than a party or a subpoenaed witness, who seeks relief relating to

any aspect of proceedings in a criminal case . . . shall file an application for such relief with the

Court.” D.D.C. LCrR 57.6. A news organization seeking access to filings not publicly available

on the CM/ECF system will have notice—because of Local Criminal Rule 49(e)—that such

submissions have been made and may file an application for access. An application for access

also provides an opportunity for the parties to articulate for the Court’s consideration any

countervailing concerns that may overcome the requested access. To avoid multiple media

requests for the same evidence, the Court may simply make clear that the grant of access to a

Capitol Case video exhibit to one member of the media applies to all. This procedure allows for

the individualized analysis of prejudice necessary to avoid unwarranted prejudice to criminal

defendants.

       Standing Order 21-28, released contemporaneously with this Memorandum Opinion and

Order, will therefore require the United States Attorney’s Office for the District of Columbia to

implement its “drop box” technical solution. As a default, media organizations will be required

to file applications, pursuant Local Criminal Rule 57.6, to view exhibits in each individual case.
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As space and public health protocols allow, members of the media are also permitted to view live

streams of district court proceedings within the Courthouse and may, with the approval of the

presiding judge, attend in-person hearings. 5

        C. Sealing Procedures

        In replying to the government’s and FPD’s representations regarding anticipated sealing

of certain exhibits, petitioners also request that any standing order issued by the Court require

(1) that the normal sealing procedures established by the Local Criminal Rules apply; (2) that

motions to seal be placed on the public docket; (3) that the court allow interested parties to be

heard before ruling on any motions to seal; and (4) that any sealing order articulate findings

demonstrating that the sealing order “is narrowly tailored and essential to preserve a compelling

government interest.” Pet’rs’ Reply at 6–7 (quoting Wash. Post, 935 F.2d at 289).

        Parties must, of course, adhere to the Local Criminal Rules, which provide in relevant

part that:

        Absent statutory authority, no case or document may be sealed without an order from the
        Court. A document filed with the intention of it being sealed in an otherwise public case
        must be filed by electronic means in a manner authorized by the Clerk and shall be
        accompanied by a motion to seal. The document will be treated as sealed, pending the
        outcome of the ruling on the motion. Failure to file a motion to seal will result in the
        document being placed on the public record.

D.D.C. LCrR 49(f)(6)(i). As noted supra n.2, the fact that evidence may be subject to a

protective order does not obviate the Court’s responsibility independently to determine whether

the evidence may be filed under seal. See All Assets Held at Bank Julius Baer & Co., 2020 WL

7773423, at *3. Thus, a party must file a motion to seal any video exhibit that it seeks to seal, in




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         Media requests to view a video stream of proceedings may be submitted here:
https://www.dcd.uscourts.gov/contact.

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whole or in part, and exhibits will only be sealed upon order of the Court. This requirement is

provided in the Local Criminal Rules and need not be reproduced in the standing order.

       The standing order issued by the Court will not include petitioners’ proposed language

regarding the public filing of and opportunity for comment on sealing motions. The cited

procedure from Washington Post, 935 F.2d at 288–89, applies by its own terms to “Sealing Plea

Agreements” and acknowledges that in some cases it may be necessary for motions to seal and

any district court findings regarding motions to seal to be sealed themselves, id. at 289 nn. 9–10.

Moreover, providing notice to interested parties and hearings on sealing orders would be

impracticable in the context of pretrial detention hearings, where sealed exhibits may need to be

filed shortly before detention hearings, which are statutorily required to be held expeditiously.

See, e.g., 18 U.S.C. § 3142(f)(2) (requiring that detention “hearing shall be held immediately

upon the person’s first appearance before the judicial officer”); id. § 3145(a) (requiring that

motions for review of a release order “shall be determined promptly”); id. § 3145(b) (requiring

that motions for review of a detention order “shall be determined promptly”).

IV.    CONCLUSION AND ORDER

       For these reasons, petitioners’ request for issuance of a standing order to provide a

streamlined means in this Court for making video exhibits in Capitol Cases accessible to the

media will be granted but, in accordance with applicable law and rules, access to these video

exhibits may be authorized after the presiding judge has the opportunity to consider the positions

of the parties. Accordingly, it is hereby

       ORDERED that the Petition to Access Video Exhibits in the Capitol Riot Cases, ECF

No. 1, is GRANTED IN PART AND DENIED IN PART; it is further




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       ORDERED that the Petition to Access Video Exhibits in the Capitol Riot Cases is

GRANTED insofar as the Court will issue Standing Order 21-28 providing a procedure for

providing media access to video exhibits submitted in Capitol Cases; and it is further

       ORDERED that the Petition to Access Video Exhibits in the Capitol Riot Cases is in all

other respects DENIED.

       SO ORDERED

       Date: May 14, 2021
                                                     __________________________
                                                     BERYL A. HOWELL
                                                     Chief Judge




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